Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 1 of 7


                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                         CaseNo.17-80495-CV-M arra/M at4hewm an

CON SUM ER Fm AN CIAL PROTECTION BUREAU,

       Plaintiff,

V S.
                                                                          FILED Ly            D.C.

OCW EN FW ANCIAL CORPORATION                                                 MAt 2 2213
OCWENMORTGAGESERVICING,lV .,and                                               STEVEN M LARIMDRE
OCW EN LOAN SERVICING,LLC,                                                    CUERKu.b Dls'
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                                                                                     .î.-w.Re.
       Defendants.
                                            /

                       ORDER REGARDING REO UEST TO UNSEAL

       THIS CAUSE isbeforetheCourtsua sponte.Currently,DocketEntries87 and 88aresealed

baseduponamotionfledbythird-partyAltisourceSolutions,Inc.(stAltisolzrce''),whichmotionwas
consentedtobythepartiesinthiscase.(DE 801.TheCourtgrantedAltisource'smotion pursuantto
LocalRuleS.D.Fla.5.4andapplicablecaselaw.(DE 861.
       The Court notes that infonnation exchanged during pretrialdiscovery is not generally

considered to bepublic inform ation and can be restricted upon a showing ofgood cause.SeeSeattle

TimesCo.v.Rhinehart,467U.S.20,33,104 S.Ct.2199,81L.Ed.2d 17(1984);Cipollonev.figgett
Group,Inc.,785F.2d 1108,1119(3dCir.1986).Further,adistrictcourtmayinitsdiscretionentera
protective ordershielding discovery m aterialsfrom public disclosureupon ashowing ofgood cause

and when the balance of interests favor entering the order.See Chi. Tribune

Bridgestone/Firestone,Inc.,263F.3d 1304,1313(11thCir.2001);Farnsworthv.ProcterdrGamble
Co.,758F.2d 1545,1547(11thCir.1985).Becausetrialcourtsareidinthebestpositiontoweighfairly
the competing needsand interestsofpartiesaffected by discovery''and because oftsgtlhe unique
character of the discovery processn''trial courts have tdsubstantial latitude'' to detennine w hen a

protective order is appropriate and what degree of protection is required.Em ess Capital, LL C v.
Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 2 of 7


Rothstein,841F.Supp.2d 1251,1254(S.D.Fla.2012)(citingSeattleTimesCo.,467U.S.at36,104
S.Ct.2199).
       A m emberofthepublic hasrequested thatthe sealed filingsin thiscase1beunsea1ed, asper

the emailcorrespondencecontained in AttachmentA to thisOrder.Accordingly,the Courtrequests

that Plaintiff Consumer FinancialProtection Bureau;Defendants Ocwen Financial Corporation,

Ocwen M ortgage Servicing,Inc.,and Ocwen Loan Servicing, LLC;and third-party Altisource

Solutions,Inc.each publicly file a response stating theirpositionsasto the requestto unsealon or
before Friday, M ay 18,2018.2

       Sincecounselforthird-party AltisourceSolutions,lnc.hasnotfiled anoticeofappearancein

thiscase,the Clerk ofCourtisDIRECTED to mailacopy ofthisOrderto itscounsel,DouglasC.

Drier,Esq.,ofGibson,Dunn,and Crutcher,LLP,1050 ConnecticutAvenue,N .W .,W ashingtonD .C.

20036.Ifcounselforthird-party Altisource Solutions,Inc.wishesto receive electronic noticesof

filing in this case,counselm ustprom ptly file a notice ofap earance in thiscase.

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Palm Beach County in the Southern D istrictofFlorida.

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                                                       UN ITED STATES M A GISTM TE JUD G E




lcurrently DE87andDE88aresealed.
2Thepartlesandnon-party AltisourceSolutions, lnc.mayalternativelyfil
                                                                   eonejointpublicresponsestatingtheir
respectivepositionsifthey w ishtodo so.
Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 3 of 7




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Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 4 of 7




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  Steven M .Larim ore
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Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 5 of 7



  and argue the m erits ofm y request? Seem s a Iittle burdensom e.Alm ostcontrary to the spirit
  ofopen governm ent.
  Considerthis m y requestforrelief:Please unsealthese and any otherdocum ents,filingsand
  ordersin thiscase,asthey are ofgreat public interest.Please don't m ake m e and other
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  unfettered access.


  John W ilen
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  M r.W ilen --M agistrate Judge M atthew m an has referred yourem ailto the Clerk'sOffice fora
  response,and asked thatthe response also be copied to counselin the case.Please be advised
  thatm atters m ay be sealed pursuantto M otion and O rderassetforth in LocalRule 5.4.
  Requeststo unsealorforaccessto filingsthathave been previously sealed m ust be addressed
  to the Courtby w ay ofa M otion to Unsealorotherrequestforrelief.Thank you.
  *****************************************

  Steven M.Larimore
  CourtAdministrator-ClerkofCourt
  United States DistrictCourt
  Southern DistrictofFlorida
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Case 9:17-cv-80495-KAM Document 89 Entered on FLSD Docket 05/07/2018 Page 6 of 7



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